               Case 8:18-bk-13394-TA                     Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                      Desc
                                                         Main Document     Page 1 of 57



 United States Bankruptcy Court for ttie:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                       Chapter you are filing under:
                                                                              □ Chapter 7
                                                                              □ Chapter 11
                                                                              □ Chapter 12
                                                                              ■ Chapter 13                                  □ Check If this an
                                                                                                                              amended filing




Official Form 101
Voluntary Petition for individuals Filing for Bankruptc
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and In joint cases, these forms use you to ask for Information from both debtors. For example, If a form asks, "Do you own a car," the answer
would be yes If either debtor owns a car. When Information Is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to
distinguish between them. In joint cases, one of the spouses must report Information as Debtor 1 and the other as Debtor 2. The same person must be
Debtor 11n all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct Information. If
more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (If known). Answer
every question.



           Identify Yourself

                                    About Debtor 1:                                               About Debtor 2 (Spouse Only In a Joint Case):

 1.   Your full name


      Write the name that Is on     Stephen
      your government-issued        First name                                                    First name
      picture Identification (for
      example, your driver's
      license or passport).         Middle
                                    Middle nami
                                           name                                                   Middle name

      Bring your picture            Nguyen
      Identification to your
                                    Last name and Suffix (Sr., Jr.,                               Last name and Suffix (Sr., Jr., II, III)
      meeting with the trustee.




      All other names you have
      used In the last 8 years
      Include your married or
      maiden names.




      Only the last 4 digits of
      your Social Security
      number or federal             xxx-xx-2545
      Individual Taxpayer
      Identification number
      (ITIN)




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy
             Case 8:18-bk-13394-TA                     Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                         Desc
                                                       Main Document     Page 2 of 57
Debtor 1   Stephen Nguyen                                                                             Case number (if known)




                                 About Debtor 1:                                               About Debtor 2(Spouse Only in a Joint Case):

4.   Any business names and
     Employer identification
     Numbers(EiN) you have           I have not used any business name or EINs.                □ I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            if Debtor 2 lives at a different address:

                                 12282 Jerome St.
                                 Garden Grove, OA 92841
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Orange
                                 County                                                        County

                                 if your mailing address is different from the one             if Debtor 2's maiiing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to fiie for
     bankruptcy                  ■      Over the last 180 days before filing this              □       Over the last 180 days before filing this petition, I
                                        petition, I have lived In this district longer than            have lived In this district longer than In any other
                                        In any other district.                                         district.


                                 □      I have another reason.                                 □       I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for individuals Filing for Bankruptcy                                                  page 2
              Case 8:18-bk-13394-TA                      Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                          Desc
                                                         Main Document     Page 3 of 57
Debtor 1     Stephen Nguyen                                                                               Case number (ifknown)



           Tell the Court About Your Bankruptcy Case

7.    The chapter of the      Check one.(For a brief description of each, see Notice Required by 11 U.S.0.§ 342(b)for Individuals Filing for Bankruptcy
      Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      choosing to file under
                                 □ Chapter?
                                 □ Chapter 11
                                 □ Chapter 12
                                 ■ Chapter13


8.    How you will pay the fee   ■       I will pay the entire fee when i file my petition. Please check with the clerk's office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                 □       I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                 □      I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                        but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                        that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                        out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.


9.    Have you filed for         g
      bankruptcy within the
      last 8 years?              □ Yes.
                                              District                                  When                            Case number

                                              District                                  When                            Case number

                                              District                                  When                            Case number




10. Are any bankruptcy           ■ No
    cases pending or being
    filed by a spouse who is     □ Yes.
    not filing this case with
    you, or by a business
    partner, or by an
      affiliate?

                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11.   Do you rent your           □ No.         Go to line 12.
      residence?
                                 ■ Yes                     landlord obtained an eviction judgment against you?
                                               I         No. Goto line 12.
                                               □         Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101 A) and file it with this
                                                         bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
             Case 8:18-bk-13394-TA                   Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                       Desc
                                                     Main Document     Page 4 of 57
Debtor 1    Stephen Nguyen                                                                               Case number (if known)



           Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time      I No.     Go to Part 4.
    business?

                                  □ Yes.     Name and location of business

    A sole proprietorship is a
    business you operate as                  Name of business, if any
    an individual, and is not a
    separate legal entity such
    as a corporation,
    partnership, or LLC.
                                             Number, Street, City, State & ZIP Code
    If you have more than one
    sole proprietorship, use a
    separate sheet and attach
    it to this petition.                     Check the appropriate box to describe your business:
                                             □       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             □       Single Asset Real Estate (as defined in 11 U.S.C. § 101(518))
                                             □       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             □       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             □       None of the above

13. Are you filing under    If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the       deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business    in 11 U.S.C. 1116(1)(B).
    debtor?
                                  ■ No.      I am not filing under Chapter 11.
    For a definition of smaii
    business debtor, see 11
                                  □ No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    U.S.C. §101(510).
                                             Code.

                                  □ Yes.     I    ^''"9 under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


           Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any        m No.
    property that poses or is
    aiieged to pose a threat      □ Yes.
    of imminent and                        What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                    If immediate attention is
    immediate attention?                   needed, why is it needed?

    For example, do you own
    perishable goods, or
    livestock that must be fed,            Where is the property?
    or a building that needs
    urgent repairs?
                                                                         Number, Street City. State & Zip Code




Official Form 101                           Voluntary Petition for individuals Filing for Bankruptcy                                               page 4
              Case 8:18-bk-13394-TA                     Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                          Desc
                                                        Main Document     Page 5 of 57
Debtor 1     Stephen Nguyen                                                                           Case number (if known)

            Explain Your Efforts to Receive a Briefing About Credit Counseling
                                    About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether          You must check one:                                           You must check one:
    you have received a             H   I received a briefing from an approved credit             □   I received a briefing from an approved credit
    briefing about credit               counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                         filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                        certificate of completion.                                    completion.
    The law requires that you
    receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
    credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
    you file for bankruptcy.
    You must truthfully check       □   I received a briefing from an approved credit                 I received a briefing from an approved credit
    one of the following                counseling agency within the 180 days before I                counseiing agency within the 180 days before I filed
    choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but i do not have a
    so, you are not eligible to         a certificate of completion.                                  certificate of completion.
    file.
                                        Within 14 days after you fi le this bankruptcy                Within 14 days after you file this bankruptcy petition, you
    If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
    can dismiss your case, you          payment plan, if any.                                         any.
    will lose whatever filing fee
    you paid, and your                  I certify that I asked for credit counseling                  I certify that i asked for credit counseling services
    creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
    collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after i made my
                                        days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                        circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                        of the requirement.
                                                                                                      To ask for a 30-day temporary waiver of the requirement,
                                        To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                        requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                        what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                        you were unable to obtain it before you filed for             circumstances required you to file this case.
                                        bankruptcy, and what exigent circumstances
                                        required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                      with your reasons for not receiving a briefing before you
                                        Your case may be dismissed if the court is                    filed for bankruptcy.
                                        dissatisfied with your reasons for not receiving a
                                        briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                        If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                        still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                        You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                        agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                        developed, if any. If you do not do so, your case
                                                                                                      Any extension of the 30-day deadline is granted only for
                                        may be dismissed.
                                                                                                      cause and is limited to a maximum of 15 days.
                                        Any extension of the 30-day deadline is granted
                                        only for cause and is limited to a maximum of 15
                                        days.
                                        I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                        credit counseling because of:                                 counseling because of:

                                        □     Incapacity.                                             □      Incapacity.
                                              I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                              that makes me incapable of realizing or                        makes me incapable of realizing or making rational
                                              making rational decisions about finances.                      decisions about fi nances.

                                        n     Disability.                                             n      Disability.
                                              My physical disability causes me to be                         My physical disability causes me to be unable to
                                              unable to participate in a briefing in person,                 participate in a briefing in person, by phone, or
                                              by phone, or through the internet, even after                  through the intemet, even after I reasonably tried to
                                              I reasonably tried to do so.                                   do so.


                                        □     Active duty.                                            □      Active duty.
                                              I am currently on active military duty in a                    I am currently on active military duty in a military
                                              military combat zone.                                          combat zone.

                                        If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                        briefing about credit counseling, you must fi le a            about credit counseling, you must file a motion for waiver
                                        motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 5
           Case 8:18-bk-13394-TA                     Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                              Desc
                                                     Main Document     Page 6 of 57
Debton       Stephen Nguyen                                                                               Case number or known)

          Anewer These Questions for Reporting Purposes

16. What kind of debts do         16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.G.§ 101(8) as "incurred by an
      you have?                             individual primarily for a personal, family, or household purpose."
                                            □ No. Go to line 16b.

                                            ■ Yes. Go to line 17.
                                  16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                            money for a business or Investment or through the operation of the business or investment.
                                            □ No. Go to line 16c.
                                            □ Yes. Go to line 17.
                                  16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under          H         I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

      Do you estimate that        □ Yes.    ' 3"! fil'ng under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
      after any exempt                      expenses are paid that funds will be available to distribute to unsecured creditors?
      property is excluded and
      administrative expenses               □ No
      are paid that funds will
      be available for                      □ Yes
      distribution to unsecured
      creditors?


18.   How many Creditors do       ■ 1-49                                          □ 1,000-5,000                               □ 25,001-50,000
      you estimate that you                                                       □ 5001-10,000                               □ 50,001-100,000
      owe?
                                  □ 50-99
                                  □ 100-199                                       □ 10,001-25,000                             □ More thani 00,000
                                  □ 200-999

19.   How much do you             □ $0 - $50,000                                  □ $1,000,001 -$10 million                   □ $500,000,001 - $1 billion
      estimate your assets to     □ $50,001 - $100,000                            □ $10,000,001 - $50 million                 □ $1,000,000,001 - $10 biilion
      be worth?
                                  □ $100,001 - $500,000                           □ $50,000,001 - $100 million                □ $10,000,000,001 - $50 billion
                                  a $500,001 - $1 million                         □ $100,000,001 - $500 million               □ More than $50 billion

20.   How much do you             □ $0 - $50,000                                  □   $1,000,001 -$10 million                 □ $500,000,001 - $1 billion
      estimate your liabilities   □ $50,001 - $100,000                            □   $10,000,001 -$50 miilion                □ $1,000,000,001 -$10 billion
      to be?
                                  □ $100,001 -$500,000                            □   $50,000,001 - $100 million              □ $10,000,000,001 - $50 billion
                                  ■ $500,001 - $1 million                         □   $100,000,001 - $500 million             □ More than $50 billion


           Sign Below

For you                           I have examined this petition, and I declare under penalty of perjury that the information provided Is true and correct.

                                  If I have chosen to file under Chapter 7, 1 am aware that I may proceed, if eligible, under Chapter 7, 11,12. or 13 of title 11,
                                  United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                  document. I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                  bankruptcy case can result in fin^ up to $260(000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,1341,
                                  1519, and 3571.                /)
                                  Isl Stephen Nguyen
                                  Stephen Nguyen                                                   Signature of Debtor 2
                                  Signature of Debtor 1               jf
                                  Executed on     September 12, 2018                                Executed on
                                                  MM / DD / YYYY                                                    MM/DD/YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
            Case 8:18-bk-13394-TA                         Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                       Desc
                                                          Main Document     Page 7 of 57
Debtor 1   Stephen Nguyen                                                                                 Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7,11,12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C.§
If you are not represented by   342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the Information
an attorney, you do not need    in the schedules filed with the petition is incorrect.
to file this page.
                                Isl Daniei King                                                    Date         September 12, 2018
                                Signature of Attomey for Debtor                                                 MM/DD/YYYY


                                Daniel King
                                Printed name

                                The Attorney Group
                                Firm name

                                3435 Wilshire Blvd
                                Suite 1111
                                Los Angeles, CA 90010
                                Number, Street, City, State & ZIP Code

                                Contact phone     213-388-3887                               Email address        dklng@theattomeygroup.com
                                207911 CA
                                Bar number & State




Official Form 101                               Voluntary Petition for individuals Filing for Bankruptcy
     Case 8:18-bk-13394-TA                       Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                                        Desc
                                                 Main Document     Page 8 of 57



                                                 STATEMENT OF RELATED CASES
                                          INFORMATION REQUIRED BY LBR 1015-2
           UNITED STATES BANKRUPTCY COURT,CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
   copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
   corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
    and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
    assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
    included in Schedule A that was filed with any such prior proceeding(s).)
Filed chapter? bankruptcy on 10/22/1997. Case #8:97-bk26984. Closed 2/1lH998.
2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
    Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
    debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
    debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
    complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
    and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
    any real property included in Schedule A that was filed with any such prior proceeding(s).)
None

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
   of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
    of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
    or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
    such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
    still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A
    that was filed with any such prior proceeding(s).)
 None

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
   been filed by or against the debtor within the last 180 days:(Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still pending,
   and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A that was filed
    with any such prior proceeding(s).)
 None


I declare, under penalty of perjury, that the foregoing is true and correct.
 Executed at Los Angeles                                           , California.                     /s/ Stephen Nguyen
                                                                                                     Stephen Nguyen                                     4
 Date:          September 12,2018                                                                    Signature of Debtor



                                                                                                      Signature of Joint Debtor




                  This fotm is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                            Pagel                F 1015-2.1.STMT.RELATED.CASES
           Case 8:18-bk-13394-TA                              Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                   Desc
                                                              Main Document     Page 9 of 57

 Fill in this information to identify your case:

 Debtor 1                 Stephen Nguyen
                          First Name                        Middle Name           Last Name

Debtor 2
(Spouse if, filing)       First Name                        Middle Name           Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)
                                                                                                                                  □ Check if this is an
                                                                                                                                    amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Flil out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary an6 check the box at the top of this page.

EBHH Summarize Your Assets
                                                                                                                                    Your assets
                                                                                                                                    Value of what you own

 1.    Schedule A/B: Property (Official Form 106A/B)
       1 a. Copy line 55, Total real estate, from Schedule A/B                                                                       $             842,130.00

       1b. Copy line 62, Total personal property, from Schedule A/B                                                                  $                 1,050,00

       1c. Copy line 63, Total of all property on Schedule A/B                                                                       $             843,180.00

EBBBM Summarize Your Liabilities
                                                                                                                                    Your liabilities
                                                                                                                                    Amount you owe

 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D..                        703,104.74

 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.                                              20,500.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F..                                          17,949.00


                                                                                                         Your total liabilities                741,553.74


             I Summarize Your Income and Expenses

       Schedule I: Your Income (Official Form 1061)
       Copy your combined monthly income from line 12 of Schedule I.                                                                 $.             13,877.33

       Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J.                                                                       $                 8,450.50

              Answer These Questions for Administrative and Statistical Records

 6.    Are you filing for bankruptcy under Chapters 7,11, or 13?
       □ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

       ■ Yes
 7.    What kind of debt do you have?

       g      Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal, family, or
              household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

       □      Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
              the court with your other schedules.
 Official Form 106Sum                  Summary of Your Assets and Liabilities and Certain Statistical Information                         page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
          Case 8:18-bk-13394-TA                             Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                    Desc
                                                            Main Document    Page 10 of 57
 Debtor 1     Stephen Nguyen                                                            Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          13,877.33


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                    Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations(Copy line 6a.)                                               $                 0.00

      9b. Taxes and certain other debts you owe the government.(Copy line 6b.)                                    20,500.00

       9c. Claims for death or personal injury while you were intoxicated.(Copy line 6c.)            $                 0.00

       9d. Student loans.(Copy line 6f.)                                                             $_                0.00

      9e. Obligations arising out of a separation agreement or divorce that you did not report as
            priority claims.(Copy line 6g.)                                                          $_                0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts.(Copy line 6h.)        +$                0.00



      9g. Total. Add lines 9a through 9f.                                                                     20,500.00




Official Form 106Sum                           Summary of Your Assets and Liabilities and Certain Statistical Information           page 2 of 2

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              Case 8:18-bk-13394-TA                                Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                             Desc
                                                                   Main Document    Page 11 of 57


                            Stephen Nguyen
                            First Name

 Debtor 2
(Spouse, ff filing)


 United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

 Case number                                                                                                                                         □    Check if this Is an
                                                                                                                                                          amended filing



Official Form 106A/B
Schedule A/B: Prope
In each category, separately list and describe items. List an asset only once. If an asset fits In more than one category, list the asset in the category where you think
It fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct Information. If
more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

              Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable Interest in any residence, building, land, or similar property?

   n No. Go to Part 2.

   B Yes. Where Is the property?



                                                                      What is the property? Check all that apply
       12282 Jerome Street                                              B Single-family home                               Do not deduct secured claims or exemptions. Put the
       Street address, If available, or other description                                                                  amount of any secured claims on Schedule D:
                                                                        Q Duplex or multi-unit building
                                                                                                                           Creditors Who Have Claims Secured by Property.
                                                                        Q Condominium or cooperative
                                                                        □ Manufactured or mobile home
                                                                                                                           Current value of the       Current value of the
       Garden Grove                      OA        92841-0000           Q Land                                             entire property?           portion you own?
       City                              State          ZIP Code        D Investment property                                     $842,130.00                 $842,130.00
                                                                        □ TImeshare
                                                                                                                           Describe the nature of your ownership interest
                                                                        D Other                                            (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one       a life estate), if known.
                                                                        B Debtor 1 only                                    Fee Simple
       Orange                                                           CH Debtor 2 only
       County                                                           n Debtor 1 and Debtor 2 only                            Check if this is community property
                                                                        C] At least one of the debtors and another              (see Instructions)
                                                                      Other information you wish to add about this item,   such as local
                                                                      property identification number:
                                                                      FVM perZillow



 2. Add the dollar value of the portion you own for all of your entries from Part 1, Including any entries for
    pages you have attached for Part 1. Write that number here                                                                                             $842,130.00

              Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                       Schedule A/B: Property
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           Case 8:18-bk-13394-TA                              Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                            Desc
                                                              Main Document    Page 12 of 57
 Debtor 1          Stephen Nguyen                                                                               Case number (ifknown)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   □ No
   ■ Yes


                      Lexus                                    Who has an interest In the property? Check one         Do not deduct secured claims or exemptions. Put
  3.1     Make:
                                                                                                                      the amount of any secured claims on Schedule D:
          Model:      NX300                                    M Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
          Year:       2017                                     □ Debtor 2 only                                        Current value of the      Current value of the
          Approximate mileage:                     10K         D Debtor 1 and Debtor 2 only                           entire property?          portion you own?
          Other information:                                   n At least one of the debtors and another
          Vehicle is Leased
                                                               □ Check if this is community property                                $0.00                        $0.00
                                                                     (see Instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   ■ No
   □ Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here                                                                     =>                        $0.00


           Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                           Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   □ No
    ■ Yes. Describe

                                    Household Furniture and Electronics                                                                                       $400.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    ■ No
    □ Yes. Describe

8. Collectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                    other collections, memorabilia, collectibles
    ■ No
    □ Yes. Describe

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                    musical Instruments

    ■ No
    □ Ves. Describe

10. Firearms
        Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    ■ No
    □ Yes. Describe




Official Form 106A/B                                                       Schedule A/B: Property                                                                  page 2
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          Case 8:18-bk-13394-TA                             Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                              Desc
                                                            Main Document    Page 13 of 57
 Debtor 1      Stephen Nguyen                                                                    Case number (if known)

11. Clothes
      Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    □ No
    ■ Yes. Describe

                                   All Clothes                                                                                                $200.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
   □ No
    ■ Yes. Describe

                                  I Misc. Jewelry                                                                                             $450.00


13. Non-farm animals
      Examples: Dogs, cats, birds, horses
    ■ No
    □ Yes. Describe

14. Any other personal and household items you did not already list, including any health aids you did not list
    ■ No
    □ Yes. Give specific information


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
      for Part 3. Write that number here                                                                                                $1,050.00


          Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                  Current value of the
                                                                                                                              portion you own?
                                                                                                                              Do not deduct secured
                                                                                                                              claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    ■ No
    □ Yes

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
    ■ No
    □ Yes                                                                 Institution name:

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    ■ No
    □ Yes                                   Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
    and joint venture
    ■ No
    □ Yes. Give specific information about them
                                        Name of entity:                                           % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    ■ No
    □ Yes. Give specific information about them
                                        issuer name:



Official Form 106A/B                                               Schedule A/B: Property                                                         pages
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          Case 8:18-bk-13394-TA                               Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                   Desc
                                                              Main Document    Page 14 of 57
 Debtor 1       Stephen Nguyen                                                                             Case number (if known)
21 Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    ■ No
    □ Yes. List each account separately.
                                      Type of account:                   Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    ■ No
    □ Yes                                                                Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    ■ No
    □ Yes                       Issuer name and description.

24. Interests In an education IRA, In an account In a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    ■ No
    □ Yes                       Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future Interests In property (other than anything listed In line 1), and rights or powers exerclsable for your benefit
   ■ No
    □ Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other Intellectual property
    Examples: internet domain names, websites, proceeds from royalties and licensing agreements
    ■ No
    □ Yes. Give specific information about them...

27. Licenses, franchises, and other general Intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    ■ No
    □ Yes. Give specific information about them...

 Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

28. Tax refunds owed to you
    ■ No
    □ Yes. Give specific information about them, including whether you already filed the returns and the tax years


29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    ■ No
    □ Yes. Give specific information


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation. Social Security
              benefits: unpaid loans you made to someone else
    ■ No
    □ Yes. Give specific information..

31. Interests In Insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
    ■ No
    □ Yes. Name the insurance company of each policy and list Its value.
                                         Company name:                                            Beneficiary:                        Surrender or refund
                                                                                                                                      value:




Official Form 106A/B                                                 Schedule A/B: Property                                                               page 4
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           Case 8:18-bk-13394-TA                               Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                 Desc
                                                               Main Document    Page 15 of 57
 Debtor 1       Stephen Nguyen                                                                            Case number (if known)
32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
       someone has died.

    ■ No
    □ Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    ■ No
    □ Yes. Describe each claim

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    ■ No
    □ Yes. Describe each claim

35. Any financial assets you did not already list
    ■ No
    □ Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here                                                                                                           $0.00


           Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.
37. Do you own or have any legal or equitable interest in any business-related property?
   I No. Go to Part 6.
   n Yes. Go to line 38.



           Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
    M No. Go to Part 7.
       □ Ves. Go to line 47.


                Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
    ■ No
    □ Yes. Give specific information

 54. Add the dollar value of ail of your entries from Part 7. Write that number here                                                               $0.00


               List the Totals of Each Part of this Form


 55. Part 1: Total real estate, line 2                                                                                                        $842,130.00
 56.   Part 2: Total vehicles, line 5                                                        $0.00
 57.   Part 3: Total personal and household items, line 15                               $1,050.00
 58.   Part 4: Total financial assets, line 36                                               $0.00
 59.   Part 5: Total business-related property, line 45                                      $0.00
 60.   Part 6: Total farm- and fishing-related property, line 52                             $0.00
 61.   Part 7: Total other property not listed, line 54                        +             $0,00
62. Total personal property. Add lines 56 through 61...                                  $1,050.00       Copy personal property total             $1,050.00

63. Total of ail property on Schedule A/B. Add line 55 + line 62                                                                           $843,180.00


Official Form 106A/B                                                  Schedule A/B: Property                                                             page 5
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             Case 8:18-bk-13394-TA                            Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                         Desc
                                                              Main Document    Page 16 of 57

                      SHnEUEniElESi

 Debtor 1                    Stephen Nguyen
                             First Name

Debtor 2
{Spouse if, filing)

 United States Bankruptcy Court for the:             CENTRAL DISTRICT OF CALIFORNIA

Case number
(if known)                                                                                                                            □ Check If this Is an
                                                                                                                                        amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct Information, Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space Is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name
and case number (If known).

For each Item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so Is to state a
specific doliar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be uniimited in doiiar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular doiiar amount and the value of the property Is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

               Identify the Property You Claim as Exempt
 1, Which set of exemptions are you claiming? Check one only, even if your spouse Is filing with you.

      ■ You are claiming state and federal nonbankruptcy exemptions, 11 U,S,C, § 522(b)(3)
      □ You are claiming federal exemptions, 11 U,S,C, § 522(b)(2)
 2,   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and iine on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that iists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      12282 Jerome Street Garden Grove,                              $842,130.00                               $75,000.00      C.C.P. § 704.730
      CA 92841 Orange County
      FVM per Ziilow                                                                  n 100% of fair market value, up to
      Line from Schedule A/B\ 1.1                                                          any applicable statutory limit


      Household Furniture and Electronics                                $400.00                                   $400.00     C.C.P. § 704.020
      Line from Schedule A/B: 6.1
                                                                                      n    100% of fair market value, up to
                                                                                           any applicable statutory limit

      All Clothes                                                        $200.00                                   $200.00     C.C.P. § 704.020
      Line from Schedule A/B: 11.1
                                                                                      n    100% of fair market value, up to
                                                                                           any applicable statutory limit

      Misc. Jewelry                                                      $450.00                                   $450.00     C.C.P. § 704.040
      Line from Schedule A/6:12.1
                                                                                      n    100% of fair market value, up to
                                                                                           any applicable statutory limit


 3, Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
      ■      No
      □      Yes, Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
             □         No
             □         Yes

Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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          Case 8:18-bk-13394-TA                              Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25          Desc
                                                             Main Document    Page 17 of 57
 Debtor 1 Stephen Nguyen                                                                     case number(if known)




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                         page 2 of 2
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           Case 8:18-bk-13394-TA                              Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                                 Desc
                                                              Main Document    Page 18 of 57

 Fill in this information to identify your case:

 Debtor 1                  Stephen Nguyen
                           First Name                       Middle Name                      Last Name

Debtor 2
(Spouse if, filing)        First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:             CENTRAL DISTRICT OF CALIFORNIA

Case number
(if known)                                                                                                                                      □ Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule P; Creditors Who Have Claims Secured by Property                                                                                                             12/is
Be as complete and accurate as possible, if two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additionai pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
      □ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ■ Yes. Fill in all of the information below.
ISBIBI List All Secured Claims
                                                                                                              Column A               Column B               Column C
2. List ail secured claims. If a creditor has more than one secured claim, list the creditor separately for
each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much     Amount of claim        Value of coilateral    Unsecured
as possible, list the claims in alphabetical order according to the creditor's name.                          Do not deduct the      that supports this     portion
                                                                                                              value of collateral.   claim                  If any
12.1 I County of Orange                           Describe the property that secures the ciaim:                   $26,001.39              $842,130.00                  $0.00
        Creditor's Name
                                                  12282 Jerome Street Garden Grove,
        Attn: Orange County Tax                   CA 92841 Orange County
        Collector                                 FVM perZlilow
        P.O. Box 1438                             As of the date you file, the claim is: Check all that
                                                  apply.
        Santa Ana, CA
        92702-1438                                □ Contingent
        Number, Street, City, State & Zip Code    D Unliquidated
                                                  D Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 H Debtor 1 only                                  G An agreement you made (such as mortgage or secured
                                                       car loan)
 □ Debtor 2 only
 □ Debtor 1 and Debtor 2 only                     □ Statutory lien (such as tax lien, mechanic's lien)
 □ At least one of the debtors and another        G Judgment lien from a lawsuit
 D Check if this ciaim relates to a               H Other (including a right to offset)      Property Taxes
      community debt

 Date debt was incurred         2017 & 2018                Last 4 digits of account number        6321


        Fidelity National Title
2.2                                                                                                             $569,344.35               $842,130.00                  $0.00
        Insurance Compan                          Describe the property that secures the ciaim:
        Creditor's Name                           12282 Jerome Street Garden Grove,
                                                  CA 92841 Orange County
                                                  FVM per allow
                                                  As of the date you fiie, the claim is: Check all that
        2533 N. 117th Avenue                      apply.
        Omaha, NE 68164                           G Contingent
        Number, Street, City, State & Zip Code    G Unliquidated
                                                  G Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 M Debtor 1 only                                  G An agreement you made (such as mortgage or secured
                                                       car loan)
 G Debtor 2 only
 G Debtor 1 and Debtor 2 only                     G Statutory lien (such as tax lien, mechanic's lien)
 □ At least one of the debtors and another        G Judgment lien from a lawsuit
 G Check if this claim reiates to a                  i Other (including a right to offset)   Deed of Trust
      community debt

 Date debt was incurred         12/4/2015                  Last 4 digits of account number

Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                        page 1 of 2
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          Case 8:18-bk-13394-TA                                 Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                             Desc
                                                                Main Document    Page 19 of 57

 Debtor 1 Stephen Nguyen                                                                                  Case number (if know)
              First Name                 Middle Name                        Last Name




12.3 I Hero Financing Program                     Describe the property that secures the claim:                 $96,779.00           $842,130.00                    $0.00
       Creditor's Name
                                                  12282 Jerome Street Garden Grove,
       1170 W 3rd Street, 2nd                     CA 92841 Orange County
       Floor                                      FVM per Zillow
                                                  As of the date you file, the claim is: Check all that
       San Bernardino, CA                         apply.
       92410                                       D Contingent
       Number, Street, City, State & Zip Code      D Unliquidated
                                                   D Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 H Debtor 1 only                                   □ An agreement you made (such as mortgage or secured
                                                         car loan)
 □ Debtor 2 only
 □ Debtor 1 and Debtor 2 only                     □ Statutory lien (such as tax lien, mechanic's lien)
 □ At least one of the debtors and another         □ Judgment lien from a lawsuit
 □ Check if this claim relates to a                    I Other (including a right to offset)   Solar Panels
     community debt

 Date debt was incurred        12/28/2015                   Last 4 digits of account number


12.4 1 Toyota Motor Credit Co                     Describe the property that secures the claim:                 $10,980.00                    $0.00          $10,980.00
       Creditor's Name                            2017 Lexus NX30D 10K miles
                                                  Vehicle is Leased

                                                  As of the date you file, the claim is: Check all that
       Po Box 9786                                apply.
       Cedar Rapids, lA 52409                     Q Contingent
       Number, Street, City, State & Zip Code     □ Unliquidated
                                                  D Disputed
Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 H Debtor 1 only                                  □ An agreement you made (such as mortgage or secured
                                                         car loan)
 D Debtor 2 only
 □ Debtor 1 and Debtor 2 only                     □ Statutory lien (such as tax lien, mechanic's lien)
 □ At least one of the debtors and another        □ Judgment lien from a lawsuit
 □ Check if this claim relates to a               H Other (including a right to offset)
     community debt

                               Opened
 Date debt was incurred        02/18                        Last 4 digits of account number        0717




   Add the dollar value of your entries in Column A on this page. Write that number here:                             $703,104,74
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:
                                                                                                                      $703,104,74

            List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying
to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one
creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1,
do not fill out or submit this page.




Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                              page 2 of2

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             Case 8:18-bk-13394-TA                            Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                                       Desc
                                                              Main Document    Page 20 of 57


                           Stephen Nguyen
                           First Name

Debtor 2
(Spouse if, filing)

 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
(if known)                                                                                                                                           □ Check If this is an
                                                                                                                                                       amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRiORiTY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property, if more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left Attach
the Continuation Page to this page, if you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and case
number (if known).

UQM I I'll All i)f Your PRIORITY Unsecured Claims
 1.   Do any creditors have priority unsecured claims against you?
      □ No. Go to Part 2.


 2.   List ail of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. if a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor's name, if you have more than two priority unsecured claims, fill out the Continuation Page of Part
      1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                           li claim       Priority               Nonpriority
                                                                                                                                          amount                 amount

      J JRS                                                          Last 4 digits of account number                        $15,000.00          $15,000.00                     $
             Priority Creditor's Name
             PO Box 7346                                             When was the debt incurred?
             Philadelphia, PA 19101
             Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             D Contingent
       B Debtor 1 only                                               D Unliquidated
       n Debtor 2 only                                               D Disputed
       n Debtor 1 and Debtor 2 only                                  Type of PRIORITY unsecured claim:

       n At least one of the debtors and another                     D Domestic support obligations
       D Check if this claim is for a community debt                 B Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               O Claims for death or personal injury while you were intoxicated
       ■ No                                                          D Other. Specify
       D Yes                                                                              2015 Fed Taxes


      I JRS                                                          Last 4 digits of account number                          $5,500.00          $5,500.00
             Priority Creditor's Name
             PO Box 7346                                             When was the debt incurred?          2017
             Philadelphia. PA 19101
             Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             D Contingent
       B Debtor 1 only                                               D Unliquidated
       n Debtor 2 only                                               D Disputed
       □ Debtor 1 and Debtor 2 only                                  Type of PRIORITY unsecured claim:

       □ At least one of the debtors and another                     D Domestic support obligations
       D Check if this claim is for a community debt                 B Taxes and certain other debts you owe the government
       is the claim subject to offset?                               n Claims for death or personal injury while you were intoxicated
       B No                                                          D Other. Specify
       D Yes                                                                              2017 Fed Taxes



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of 5
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           Case 8:18-bk-13394-TA                              Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                                    Desc
                                                              Main Document    Page 21 of 57
 Debtor 1 Stephen Nguyen                                                                                  Case number (if know)

             I List Alt of Your NONPRIORITY Unsecured Claims
 3. Do any creditors have nonprlorHy unsecured claims against you?
       n No. You have nothing to report in this part Submit this form to the court with your other schedules.
       H Yes.
 4. List all of your nonprlorHy unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonprionty unsecured
    claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more than one
    creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonprioiity unsecured claims fill out the Continuation Page of Part 2.
                                                                                                                                                        Total claim

 4.1       Bk Of Amer                                                Last 4 digits of account number        4645                                                       $381.00
           Nonpriority Creditor's Name
                                                                                                            Opened 02/18 Last Active
           Po Box 982238                                             When was the debt incurred?            7/18/18
           El Rase, TX 79998
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who Incurred the debt? Check one.
                                                                     D Contingent
           H Debtor 1 only
                                                                     □ Unliquidated
           D Debtor 2 only
                                                                     D Disputed
           n Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           n At least one of the debtors and another                 D student loans
            □ Check if this claim is for a community debt            □ Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            ■ No                                                     □ Debts to pension or profit-sharing plans, and other similar debts
            □ Yes                                                      I other. Specify    Credit Card


14.2 I Credit One Bank Na                                            Last 4 digits of account number        3383                                                      $236.00
           Nonpriority Creditor's Name
                                                                                                            Opened 07/18 Last Active
           Po Box 98875                                              When was the debt incurred?            9/03/18
           Las Vegas, NV 89193
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                     D Contingent
            M Debtor 1 only
                                                                     D Unliquidated
           D Debtor 2 only
                                                                     G Disputed
           □ Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           □ At least one of the debtors and another                 □ Student loans
           D Check if this claim is for a community debt             G Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      G Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                     ■ other. Specify Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 2 of 5
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          Case 8:18-bk-13394-TA                               Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                           Desc
                                                              Main Document    Page 22 of 57
 Debtor 1 Stephen Nguyen                                                                                  Case number (if know)


EE]       Dsnbvis
          Nonpriority Creditor's Name
                                                                     Last 4 digits of account number        9304                                           $391.00

                                                                                                            Opened 11/05 Last Active
          Po Box 8218                                                When was the debt Incurred?            12/10/11
           Mason, OH 45040
           Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
          Who incurred the debt? Check one.
                                                                     Q Contingent
           H Debtor 1 only
                                                                     D Unliquidated
          D Debtor 2 only
                                                                     D Disputed
           □ Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           □ At least one of the debtors and another                 □ Student loans
           n Check If this claim Is for a community debt             Q Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      D Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                     ■ other. Specify Charge Account

4.4       Genesis Bc/celtic Bank                                     Last 4 digits of account number        1246                                           $218.00
          Nonpriority Creditor's Name
                                                                                                            Opened 07/18 Last Active
          268 S State St Ste 300                                     When was the debt Incurred?            9/06/18
          Salt Lake City, UT 84111
           Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
          Who incurred the debt? Check one.
                                                                     □ Contingent
           H Debtor 1 only
                                                                     □ Uniiquidated
           □ Debtor 2 only
                                                                     G Disputed
           n Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           D At least one of the debtors and another                 □ Student loans
           □ Check If this claim Is for a community debt             □ Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           M No                                                      □ Debts to pension or profit-sharing pians, and other simiiar debts
           □ Yes                                                     H Other. Specify Credit Card

4.5       Lending Club Corp                                          Last 4 digits of account number        9326                                         $9,042.00
          Nonpriority Creditor's Name
                                                                                                            Opened 02/18 Last Active
          71 Stevenson St Ste 300                                    When was the debt Incurred?            6/21/18
          San Francisco, CA 94105
          Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
          Who Incurred the debt? Check one.
                                                                     □ Contingent
           B Debtor 1 only
                                                                     □ Unliquidated
           □ Debtor 2 only
                                                                     □ Disputed
           □ Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           □ At least one of the debtors and another                 G student loans
           □ Check If this claim Is for a community debt             G Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           ■ No                                                      G Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                     ■ other. Specify Unsecured




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3 of 5
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           Case 8:18-bk-13394-TA                              Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                              Desc
                                                              Main Document    Page 23 of 57
 Debtor 1 Stephen Nguyen                                                                                  Case number (if know)

 4.6      Syncb/sync Bank Luxury                                     Last 4 digits of account number        2013                                              $2,027.00
           Nonpriorlty Creditor's Name
                                                                                                            Opened 07/18 Last Active
          950 Forrer Blvd                                            When was the debt incurred?            9/06/18
           Kettering, OH 45420
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                     D Contingent
           H Debtor 1 only
                                                                     G Unliquidated
           □ Debtor 2 only
                                                                     G Disputed
           □ Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           □ At least one of the debtors and another                 G student loans
           □ Check If this claim is for a community debt             G Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      G Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                     ■ Other. Specify Charge Account

 4.7       Thd/cbna                                                  Last 4 digits of account number        2486                                              $3,886.00
           Nonpriority Creditor's Name
                                                                                                            Opened 05/18 Last Active
           Po Box 6497                                               When was the debt incurred?            8/24/18
           Sioux Fails, SD 57117
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                     G Contingent
           H Debtor 1 only
                                                                     G Unliquidated
           G Debtor 2 only
                                                                     G Disputed
           G Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           G At least one of the debtors and another                 G student loans
           G Check if this claim is for a community debt             G Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      G Debts to pension or profit-sharing plans, and other similar debts
           G Yes                                                     ■ other. Specify Charge Account

 4.8      Weils Fargo                                                Last 4 digits of account number        6368                                              $1,768.00
           Nonpriority Creditor's Name
                                                                                                           Opened 02/18 Last Active
           Po Box 14517                                              When was the debt incurred?            6/27/18
           Des Moines, lA 50306
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                     G Contingent
           H Debtor 1 only
                                                                     G Unliquidated
           G Debtor 2 only
                                                                     G Disputed
           G Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
           G At least one of the debtors and another                 □ Student loans
           G Check if this claim is for a community debt             G Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           ■ No                                                      □ Debts to pension or profit-sharing plans, and other similar debts
           GYes                                                      H Other. Specify Credit Card

            I List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency is
   trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have
   more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for
   any debts in Parts 1 or 2, do not fill out or submit this page.

            I Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each type
   of unsecured claim.


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 4 of 5
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          Case 8:18-bk-13394-TA                             Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                     Desc
                                                            Main Document    Page 24 of 57
 Debtor 1 Stephen Nguyen                                                                                Case number (if know)


                                                                                                                          Total Claim
                        6a.   Domestic support obligations                                               6a.     $                      0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                       6b.     $                 20,500.00
                        6c.   Claims for death or personal injury while you were intoxicated             6c.     $                      0.00
                        6d.   Other. Add aii other priority unsecured claims. Write that amount here.    6d.     $                      0.00


                        6e.   Total Priority. Add lines 6a through 6d.                                   6e.                       20,500.00

                                                                                                                          Total Claim
                        6f.   Student loans                                                              6f.                            0.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that you
                              did not report as priority ciaims                                                                         0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts          6h.     $                      0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount here. 6i.     $                 17,949.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                6j.                       17,949.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 5 of5
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             Case 8:18-bk-13394-TA                             Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                               Desc
                                                               Main Document    Page 25 of 57


                          Stephen Nguyen
                          First Name

Debtor 2
(Spouse if, filing)


 United States Bankruptcy Court for tfie:             CENTRAL DISTRICT OF CALIFORNIA

 Case number
(if known)                                                                                                                    □ Check If this Is an
                                                                                                                                  amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill It out, number the entries, and attach It to this page. On the top of any
additional pages, write your name and case number (if known).

1.    Do you have any executory contracts or unexpired leases?
      B No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      □ Yes. Fill In all of the information below even If the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.    List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
      exampie, rent, vehicle lease, cell phone). See the Instructions for this form In the Instruction booklet for more examples of executory contracts
      and unexpired leases.


       Person or company with whom you have the contract or iease                  state what the contract or lease is for
                         Name, Number, Street, City, State an(d ZIP Code




          Number       Street




          Number       Street




         Number        Street




         Number        Street




         Number        Street




Official Form 106G                                Schedule G; Executory Contracts and Unexpired Leases                                           Page 1 of 1
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             Case 8:18-bk-13394-TA                              Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                        Desc
                                                                Main Document    Page 26 of 57


 Debtor 1                  Stephen Nguyen
                           First Name

Debtor 2
(Spouse if. filing)


 United States Bankruptcy Court for the:                CENTRAL DISTRICT OF CALIFORNIA

Case number
(if known)                                                                                                               □ Check If this Is an
                                                                                                                           amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                   12/15

Codebtors are people or entitles who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct Information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (If known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.




      2. Within the last 8 years, have you lived In a community property state or territory? {Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      • No. Go to line 3.
      □ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse Is filing with you. List the person shown
      In line 2 again as a codebtor only If that person Is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to
      fill out Column 2.


               Coiumn 1: Your codebtor                                                            Coiumn 2: The creditor to whom you owe the debt
               Name, Number, Street. City, State and ZIP Code                                     Check all schedules that apply:

                                                                                                  □ Schedule D, line
                                                                                                  □ Schedule E/F, line
                                                                                                  □ Schedule G, line




                                                                                                  □ Schedule D, line
                                                                                                  □ Schedule E/F, line
                                                                                                  □ Schedule G, line _




Official Form 106H                                                          Schedule H: Your Codebtors                                   Page 1 of 1
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             Case 8:18-bk-13394-TA                  Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                         Desc
                                                    Main Document    Page 27 of 57



 Fill in this information to identify your case:

 Debtor 1                   Stephen Nguyen

 Debtor 2
(Spouse, If filing)

 United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

 Case number                                                                                             Check if this is:
(If known)
                                                                                                         □ An amended filing
                                                                                                         □ A supplement showing postpetltlon chapter
                                                                                                             13 Income as of the following date:
 Official Form 106!                                                                                          MM/DD/YYYY

 Schedule I: Your Income                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include Information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space Is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

                  I Describe Employment
       Fili in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                              M Employed                                   □ Employed
       attach a separate page with           Employment status
                                                                   □ Not employed                               □ Not employed
       information about additional
       employers.
                                             Occupation            Stager
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Self-Em ployed

       Occupation may include student        Employer's address
                                                                   12282 Jerome St
       or homemaker, if it applies.
                                                                   Garden Grove, CA 92841

                                             How long employed there?         5 years

                  I Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2-     deductions). If not paid monthly, calculate what the monthly wage would be.         2.      $              0.00       $             N/A


3.     Estimate and iist monthly overtime pay.                                             3.     +$              0.00       +$            N/A

4.     Caiculate gross income. Add line 2 + line 3.                                        4.      $           0.00              $      N/A




Official Form 1061                                                      Schedule I; Your Income                                                    page 1
           Case 8:18-bk-13394-TA                  Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                          Desc
                                                  Main Document    Page 28 of 57


Debtor 1    Stephen Nguyen                                                                      Case number (if known)



                                                                                                 For Debtor 1            For Debtor 2 or
                                                                                                                         non-flling spouse
      Copy line 4 here                                                                    4.     $              0.00     $                N/A

      List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                 5a.    $              0.00     $                N/A
      5b.   Mandatory contributions for retirement plans                                  5b.    $              0.00     $                N/A
      5c.   Voluntary contributions for retirement plans                                  5c.  $                0.00   $               N/A
      5d.   Required repayments of retirement fund loans                                  5d.  $                0.00   $               N/A
      5e.   Insurance                                                                     5e.  $                0.00   $               N/A
     5f.    Domestic support obligations                                                  5f.  $                0.00   $               N/A
     5g.    Union dues                                                                    5g. $                 0.00   $               N/A
     5h.    Other deductions. Specify:                                                    5h.+ $                0.00 + $               N/A
      Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                      6.    $               0.00     $             N/A
      Calculate total monthly take-home pay. Subtract line 6 from line 4.                 7.    $               0.00     $             N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.    $       13,877.33       $             N/A
     8b.    Interest and dividends                                                        8b.    $              0.00     $             N/A
     8c.    Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                        8c.     $               0.00     $             N/A
     8d.    Unemployment compensation                                                   8d.     $               0.00     $             N/A
     8e.    Social Security                                                             8e.     $               0.00     $             N/A
     8f.    Other government assistance that you regulariy receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                    8f.     $               0.00   $               N/A
     8g.    Pension or retirement income                                                8g.     $               0.00   $               N/A
     8h.    Other monthly Income. Specify:                                              8h.+    $               0.00 + $               N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                            £              13,877.33                         N/A


10. Calculate monthly Income. Add line 7 + line 9.                                     10. $         13,877.33                 N/A    $      13,877.33
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
      other friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
      Specify:                                                                                                                 11. +$            0.00

12. Add the amount In the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                                  13,877.33

                                                                                                                                     Combined
                                                                                                                                     monthly Income
13. Do you expect an Increase or decrease within the year after you file this form?
      ■       No.
      □       Yes. Explain: |




Official Form 1061                                                    Schedule I: Your Income
        Case 8:18-bk-13394-TA                        Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                                Desc
                                                     Main Document    Page 29 of 57



Fill in this information to identify your case:

Debtor 1               Stephen Nguyen                                                                      Check if this is:
                                                                                                           □        An amended filing
Debtor 2                                                                                                   □        A supplement showing postpetltion chapter
(Spouse, if filing)                                                                                                 13 expenses as of the following date:

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA                                            MM / DD / YYYY


Case number
(If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. If more space Is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (If known). Answer every question.

              Describe Your Household
1.     Is this a joint case?
       B No. Go to line 2.
       □ Yes. Does Debtor 2 live In a separate household?
                □ No
                □ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?             ■ No
       Do not list Debtor 1               □ Yes.   Fill out this information for   Dependenfs relationship to          Dependent's       Does dependent
      and Debtor 2.                                each dependent                  Debtor 1 or Debtor 2                age               live with you?

      Do not state the                                                                                                                   □   No
      dependents names.                                                                                                                  □   Yes
                                                                                                                                         □   No
                                                                                                                                         □   Yes
                                                                                                                                         □   No
                                                                                                                                         □   Yes
                                                                                                                                         □   No
                                                                                                                                         □   Yes
      Do your expenses Include                   ■ No
      expenses of people other than
      yourself and your dependents?              □ Yes

             I Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement In a Chapter 13 case to report
expenses as of a date after the bankruptcy Is filed. If this Is a supplemental Schedule J, check the box at the top of the form and fill In the
applicable date.

Include expenses paid for with non-cash government assistance If you know
the value of such assistance and have Included It on Schedule I: Your Income
(Official Form 1061.)                                                                                                        Your expenses


      The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                         4. $                              4,750.00

      If not Included In line 4:

      4a.     Real estate taxes                                                                           4a.   $                             100.00
      4b.     Property, homeowner's, or renter's insurance                                                4b. $                              1,636.50
      4c.     Home maintenance, repair, and upkeep expenses                                               4c. $                                   50.00
      4d.     Homeowner's association or condominium dues                                                 4d. $                                    0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5. $                                    0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
       Case 8:18-bk-13394-TA                          Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                                    Desc
                                                      Main Document    Page 30 of 57


 Debtor 1    Stephen Nguyen                                                                              Case number (if known)

6.    Utilities:
      6a.    Electricity, heat, natural gas                                                                    6a. $                                 175.00
      6b.    Water, sewer, garbage collection                                                                  6b. $                                 150.00
      6c.    Telephone, cell phone, Intemet, satellite, and cable services                                     6c. $                                  50.00
      6d.    Other. Specify:     Trash Pick-Up                                                                 6d. $                                  31.00
7.    Food and housekeeping supplies                                                                            7.   $                               350.00
8.    Childcare and children's education costs                                                                  8.   $                                 0.00
9.    Clothing, laundry, and dry cleaning                                                                       9.   $                               150.00
10.   Personal care products and services                                                                      10.   $                                50.00
11.   Medical and dental expenses                                                                              11.   $                                 0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                                             12. $                                 350.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                       13. $                                 100.00
14.   Charitable contributions and religious donations                                                         14. $                                   0.00
15. Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                                    15a. $                                    0.00
      15b. Health insurance                                                                                  15b. $                                    0.00
      15c.   Vehicle insurance                                                                               15c. $                                  100.00
      15d. Other insurance. Specify:                                                                         15d. $                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                                 16. $                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                        17a. $                                  408.00
      17b. Car payments for Vehicle 2                                                                        17b. $                                    0.00
      17c. Other. Specify:                                                                                   17c. $                                    0.00
      17d. Other. Specify:                                                                                   17d. $                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule /, Your Income(Official Form 1061).                           18. $                                    0.00
19.   Other payments you make to support others who do not live with you.                                            $                                  0.00
      Specify:                                                                              19.
20.   Other reai property expenses not included In lines 4 or 5 of this form or on Schedule 1: Your Income.
      20a. Mortgages on other property                                                    20a. $                                                        0.00
      20b. Real estate taxes                                                                                 20b. $                                     0.00
      20c. Property, homeowner's, or renter's insurance                                                      20c. $                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                                          20d. $                                     0.00
      20e. Homeowner's association or condominium dues                                                       20e. $                                     0.00
21.   Other: Specify:                                                                                         21. +$                                    0.00

22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                         $                     8,450.50
    22b. Copy line 22(monthly expenses for Debtor 2), if any, from Official Form 106J-2                                  $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                    $                     8,450.50
23. Calculate your monthly net Income.
    23a. Copy line 12(your combined monthiy income)from Schedule 1.                                          23a. $                              13,877.33
    23b. Copy your monthly expenses from line 22c above.                                                     23b. -$                              8,450.50

      23c. Subtract your monthly expenses from your monthly Income.
           The result is your monthly net income.                                                            23c.                                 5,426.83

24.   Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to Increase or decrease because of a
      modification to the terms of your mortgage?
      ■ No.
      □ Yes.             I Explain here:




Official Form 106J                                                   Schedule J: Your Expenses                                                                    page 2
        Case 8:18-bk-13394-TA                            Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                        Desc
                                                         Main Document    Page 31 of 57




Fill in this information to identify your case;

Debtor 1                 Stephen Nguyen
                         First Name                       Middle Name             Last Name

Debtor 2
(Spouse If, filing)      First Name                       Middle Name             Last Name


United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

Case number
(if known)                                                                                                                        □ Check if this Is an
                                                                                                                                    amended filing



Official Form 10SDec
Declaration About an Individual Debtor's Schedules                                                                                                        12;^
If two married people are filing together, both are equally responsible for supplying correct Information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152,1341,1519, and 3571.


                  Sign Below


        Did you pay or agree to pay someone who Is NOT an attorney to help you fill out bankruptcy forms?

        B      No

        □      Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer's Notice.
                                                                                                              ■ Deciaration, and Signature (Official Form 119)


      Under penalty of peijury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

        X isl Stephen Nguyen
          Stephen Nguyen                                                              Signature of Debtor 2
          Signature of Debtor 1

             Date     September 12, 2018                                              Date




Official Form 106Dec                                     Declaration About an Individual Debtor's Schedules
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             Case 8:18-bk-13394-TA                            Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                            Desc
                                                              Main Document    Page 32 of 57




 Debtor 1                Stephen Nguyen
                          First Name

 Debtor 2
(Spouse If. filing)


 United States Bankruptcy Court for ttie:            CENTRAL DISTRICT OF CALIFORNIA

Case number
(if known)                                                                                                                                 □ Check If this Is an
                                                                                                                                              amended filing



Official Form 107
Statement of Financial Affairs for Individuais Filing for Bankruptcy                                                                                                 ^
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (If known). Answer every question.

I^nmi'                * '''tails About Your Marital Status and Where You Lived Before
1.    What Is your current marital status?

      □      Married
      B      Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?



      □      Yes. List all of the places you lived In the last 3 years. Do not Include \Afhere you live now.

       Debtor 1 Prior Address:                                   Dates Debtor 1             Debtor 2 Prior Address;                               Dates Debtor 2
                                                                 lived there                                                                      lived there

3.    Within the last 8 years, did you ever live with a spouse or legal equivalent In a community property state or territory? (Community pmperty
states and tem'tories Include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

      ■      No
      □      Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

               Explain the Sources of Your Income

4.    Did you have any Income from employment or from operating a business during this year or the two previous calendar years?
      Fill In the total amount of Income you received from all joljs and all businesses, Including part-time activities.
      If you are filing a joint case and you have Income that you receive together, list It only once under Debtor 1.

      □      No
      ■      Yes. FIN In the details.

                                                   Debtor 1                                                        Debtor 2

                                                   Sources of Income                Gross Income                   Sources of Income              Gross Income
                                                   Check all that apply.            (before deductions and         Check all that apply.          (before deductions
                                                                                    exclusions)                                                   and exclusions)

From January 1 of current year until               □ Wages, commissions,                        $80,000.00         □ Wages, commissions,
the date you filed for bankruptcy;                 bonuses, tips                                                   bonuses, tips

                                                   ■ Operating a business                                          n Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy

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          Case 8:18-bk-13394-TA                             Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                          Desc
                                                            Main Document    Page 33 of 57
 Debtor 1     Stephen Nguyen                                                                               Case number (if known)



                                                  Debtor 1                                                         Debtor 2

                                                  Sources of income                 Gross Income                   Sources of Income           Gross Income
                                                  Check all that apply.             (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)

For last calendar yean                            □ Wages, commissions,                                $0.00       □ Wages, commissions,
(January 1 to December 31, 2017)                  bonuses, tips                                                    bonuses, tips

                                                  I Operating a business                                           □ Operating a business

 For the calendar year before that:               □ Wages, commissions,                         $15,400.00         □ Wages, commissions,
 (January 1 to December 31, 2016)                 bonuses, tips                                                    bonuses, tips

                                                  ■ Operating a business                                           □ Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include Income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
      unemployment, and other public benefit payments; pensions; rental income; Interest; dividends; money collected from lawsuits; royalties; and
      gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

      □     No
      ■     Yes. Fill in the details.

                                                  Debtor 1                                                        Debtor 2
                                                  Sources of income                Gross income from              Sources of income            Gross income
                                                  Describe below.                  each source                    Describe below.              (before deductions
                                                                                   (before deductions and                                      and exclusions)
                                                                                   exclusions)
 For the calendar year before that:               Rental Income                                 $50,876.00
 (January 1 to December 31, 2016)

                                                  Winnings                                       $6,196.00

                                                  Taxable Interest                              $22,500.00


ISBSH List Certain Payments You Made Before You Fiied for Bankruptcy

6.    Are either Debtor 1's or Debtor 2's debts primarily consumer debts?
      □     No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an
                    individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                    n No.         Go to line 7.
                         Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

      H Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                    ■ No.         Go to line 7.
                    ^ Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                  include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                                  an attomey for this bankruptcy case.


       Creditor's Name and Address                             Dates of payment             Total amount          Amount you        Was this payment for.
                                                                                                       paid            still owe




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2

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          Case 8:18-bk-13394-TA                               Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                           Desc
                                                              Main Document    Page 34 of 57
 Debtor 1     Stephen Nguyen                                                                                Case number {if known)


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
      including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child
      support and alimony.

      ■     No
      n Yes. List all payments to an Insider.
       insider's Name and Address                               Dates of payment             Total amount          Amount you         Reason for this payment
                                                                                                      paid            stiii owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

      ■     No
      □ Yes. List all payments to an Insider
       insider's Name and Address                               Dates of payment             Total amount          Amount you         Reason for this payment
                                                                                                     paid            still owe        Include creditor's name

            I identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List ail such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

      ■     No
      □     Yes. Fill In the details.
       Case title                                               Nature of the case          Court or agency                           Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

      ■     No. Go to line 11.
      □     Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                         Value of the
                                                                                                                                                              property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
      ■     No
      □     Yes. Fill In the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                  Amount
                                                                                                                              taken


12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

      ■     No
      □     Yes

              List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
    ■ No
    □ Yes. Fill In the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                     Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 3
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          Case 8:18-bk-13394-TA                               Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                        Desc
                                                              Main Document    Page 35 of 57
 Debtor 1     Stephen Nguyen                                                                                Case number {if known)



14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
    ■ No
      □     Yes. Fill In the details for each gift or contribution.
       Gifts or contributions to charities that total                   Describe what you contributed                         Dates you                       Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number. Street, City, State and ZIP Code)

              List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
      disaster, or gambling?

      ■     No
      □     Yes. Fill In the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                                                                                  loss                               lost
                                                            Include the amount that Insurance has paid. List
                                                            pending Insurance claims on line 33 of Schedule A/B:
                                                            Property.

            I List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
      consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required In your bankruptcy.

      □     No
      ■     Yes. Fill In the details.
       Person Who Was Paid                                              Description and value of any property                 Date payment              Amount of
       Address                                                       transferred                                              or transfer was             payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       The Attorney Group                                            Attorney Fees $2190 paid upfront and                     9/6/2018                  $2,190.00
       3435 Wilshire Blvd                                            $2810 to be paid through the chapter
       Suite 1111                                                       13 plan
       Los Angeles, OA 90010
       dkingigtheattorneygroup.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to heip you deal with your creditors or to make payments to your creditors?
    Do not Include any payment or transfer that you listed on line 16.

      ■     No
      □     Yes. Fill In the details.
       Person Who Was Paid                                              Description and value of any property                 Date payment              Amount of
       Address                                                       transferred                                              or transfer was             payment
                                                                                                                              made


18. Within 2 years before you filed for bankruptcy, did you seil, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security Interest or mortgage on your property). Do not
    Include gifts and transfers that you have already listed on this statement.
      ■     No
      □     Yes. Fill In the details.
       Person Who Received Transfer                                     Description and value of                Describe any property or        Date transfer was
       Address                                                          property transferred                    payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you




Official Form 107                                      Statement of Financial Affairs for individuals Filing for Bankruptcy                                    page 4

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           Case 8:18-bk-13394-TA                              Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                    Desc
                                                              Main Document    Page 36 of 57
 Debtor 1      Stephen Nguyen                                                                               Case number (if known)



19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary?(These are often called asset-protection devices.)
      ■     No
      □     Yes. Fill In the details.
       Name of trust                                                 Description and value of the property transferred                      Date Transfer was
                                                                                                                                            made

              List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
      sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
      houses, pension funds, cooperatives, associations, and other financial institutions.
      ■     No
      □     Yes. Fill In the details.
       Name of Financial Institution and                        Last 4 digits of              Type of account or         Date account was        Last balance
       Address (Number, Street, City, State and ZIP             account number                instrument                 closed, sold,       before closing or
                                                                                                                         moved, or                       transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
      cash, or other valuables?

      ■     No
      □     Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents             Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                           have It?
                                                                     State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

      ■     No
      □     Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents             Do you still
       Address (Number, Street, City, State and ZIP Code)            tO it?                                                                   have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

              Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
      for someone.


      ■     No
      □     Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                          Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)


|3IBSE8i ^'ve Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

■     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
M     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
■     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 5
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          Case 8:18-bk-13394-TA                               Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                           Desc
                                                              Main Document    Page 37 of 57
 Debtor 1     Stephen Nguyen                                                                                    Case number {if known)



24. Has any governmental unit notified you that you may be liable or potentially liable under or In violation of an environmental law?

      ■     No
      □     Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, If you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)


25. Have you notified any governmental unit of any release of hazardous material?

      ■     No
      □     Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)


26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

      ■     No
      □     Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)


I333SB              Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the foliowing connections to any business?
            □ A sole proprietor or self-employed In a trade, profession, or other activity, either full-time or part-time
            □ A member of a iimited liabiiity company (LLC) or limited liability partnership (LLP)
            □ A partner in a partnership
            □ An officer, director, or managing executive of a corporation
            □ An owner of at least 5% of the voting or equity securities of a corporation
      ■     No. None of the above applies. Go to Part 12.
      □     Yes. Check ali that apply above and fill in the details below for each business.
       Business Name                                            Describe the nature of the business                  Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                     Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

      ■     No
      □     Yes. Fili in the detaiis below.
       Name                                                     Date Issued
       Address
       (Number, Street, City, State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        pages

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       Case 8:18-bk-13394-TA                               Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                     Desc
                                                           Main Document    Page 38 of 57

Debtor 1 Stephen Nguyen                                                                                     Case number (/r/cnown)


             Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud In connection
with a bankruptcy case can result in fines up to $250,000, or Imprisonment for up to 20 years, or both.
18 U.S.C.§§ 152, 1341,1519, ajpd 3571.

is!Stephen Nguyen
Stephen Nguyen                       fj ~ "                             Signature of Debtor 2
Signature of Debtor 1

 Date September 12, 2018                                                 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy{Official Form 107)?
■ No
□ Yes

Did you pay or agree to pay someone who Is not an attorney to help you fill out bankruptcy forms?
■ No
□ Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




 Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 7
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          Case 8:18-bk-13394-TA                             Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                     Desc
                                                            Main Document    Page 39 of 57


Notice Required by 11 U.S.C.§ 342(b)for
individuais Fiiing for Bankruptcy(Form 2010)


                                                                                       Chapter 7:        Liquidation
 This notice is for you if:
                                                                                               $245 filing fee
        You are an individuai fiiing for bankruptcy,
        and                                                                                     $75   administrative fee

        Your debts are primarily consumer debts.                                       +        $15 trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as "incurred by an individual                                                 $335   total fee
        primarily for a personal, family, or
        household purpose."                                                            Chapter 7 is for individuals who have financial
                                                                                       difficulty preventing them from paying their debts
                                                                                       and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                         property to be used to pay their creditors. The
 individuals                                                                           primary purpose of filing under chapter 7 is to have
                                                                                       your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                    many of your pre-bankruptcy debts. Exceptions exist
                                                                                       for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                        be enforced after discharge. For example, a creditor
                                                                                       may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                    repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                          However, if the court finds that you have committed
                   for family farmers or                                               certain kinds of improper conduct described in the
                          fishermen                                                    Bankruptcy Code, the court may deny your
                                                                                       discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                        You should know that even if you file chapter 7 and
                          income                                                       you receive a discharge, some debts are not
                                                                                       discharged under the law. Therefore, you may still
                                                                                       be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                         most taxes;
 chapter.
                                                                                           most student loans;

                                                                                           domestic support and property settlement
                                                                                           obligations;




Notice Required by 11 U.S.C.§ 342(b)for Individuais Filing for Bankruptcy(Form 2010)                                                        pagel

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          Case 8:18-bk-13394-TA                             Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                           Desc
                                                            Main Document    Page 40 of 57



        most fines, penalties, forfeitures, and criminal                               your income is more than the median income for your
        restitution obligations; and                                                   state of residence and family size, depending on the
                                                                                       results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                           administrator, or creditors can file a motion to dismiss
         papers.                                                                       your case under§ 707(b) of the Bankruptcy Code. If a
                                                                                       motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                   be dismissed. To avoid dismissal, you may choose to
                                                                                       proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                Code.

        fraud or defalcation while acting in breach of                                 If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                            the trustee may sell your property to pay your debts,
                                                                                       subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                   of the proceeds from the sale of the property. The
                                                                                       property, and the proceeds from property that your
        death or personal injury caused by operating a                                 bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                           entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                         enable you to keep your home, a car, clothing, and
                                                                                       household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                 the property is sold.
 can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                     Exemptions are not automatic. To exempt property, you
You must file Chapter 7 Statement of Your Current                                      must list it on Schedule C: The Property You Claim as
Monthly Income (Official Form 122A-1) if you are an                                    Exempt(Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                 property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                    proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A-2).
                                                                                                   $1,167 filing fee
 If your income is above the median for your state, you
 must file a second form —^the Chapter 7 Means Test                                       +          $550 administrative fee
 Calculation (Official Form 122A-2). The calculations on                                           $1,717 total fee
the form— sometimes called the Means Tesf—deduct
from your income living expenses and payments on                                       Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay                                 but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                       chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C.§ 342(b)for Individuals Filing for Bankruptcy(Form 2010)                                                            page 2

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          Case 8:18-bk-13394-TA                            Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                          Desc
                                                           Main Document    Page 41 of 57

        Read These Important Warninqs

            Because bankruptcy can have serious long-term financial and legal consequences, Including loss of
            your property, you should hire an attorney and carefully consider all of your options before you file. Only
            an attorney can give you legal advice about what can happen as a result of filing for bankruptcy and
            what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms properly
            and protect you, your family, your home,and your possessions.

            Although the law allows you to represent yourself In bankruptcy court, you should understand that many
            people find It difficult to represent themselves successfully. The rules are technical, and a mistake or
            Inaction may harm you. If you file without an attorney, you are still responsible for knowing and
            following all of the legal requirements.

            You should not file for bankruptcy If you are not eligible to file or If you do not Intend to file the
            necessary documents.

            Bankruptcy fraud Is a serious crime; you could be fined and Imprisoned If you commit fraud In your
            bankruptcy case. Making a false statement,concealing property, or obtaining money or property by
            fraud In connection with a bankruptcy case can result In fines up to $250,000, or Imprisonment for up to
            20 years,or both. 18 U.S.C.§§ 152,1341,1519, and 3571.



                                                                                       Under chapter 13, you must file with the court a plan to
 Chapter 12: Repayment plan for femlly                                                 repay your creditors all or part of the money that you
                    farmers or fishermen                                               owe them, usually using your future earnings. If the
                                                                                       court approves your plan, the court will allow you to
                                                                                       repay your debts, as adjusted by the plan, within 3
                  $200 filing fee                                                      years or 5 years, depending on your income and other
+                  $75 administrative fee                                              factors.
                  $275       total fee
                                                                                       After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                               many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                               not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                pay include;
are not paid.
                                                                                              domestic support obligations,

                                                                                              most student loans,
Chapter 13: Repayment plan for
            Individuals with regular                                                          certain taxes,
                    Income
                                                                                              debts for fraud or theft,

                  $235 filing fee                                                             debts for fraud or defalcation while acting in a
+                  $75 administrative fee                                                     fiduciary capacity,
                  $310       total fee
                                                                                              most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                           certain debts that are not listed in your
installments over a period of time and to discharge some                                      bankruptcy papers,
debts that are not paid. You are eligible for chapter 13
only if your debts are not more than certain dollar                                           certain debts for acts that caused death or
amounts set forth in 11 U.S.C.§ 109.                                                          personal injury, and

                                                                                              certain long-term secured debts.



Notice Required by 11 U.S.C.§ 342(b)for Individuals Filing for Bankruptcy(Form 2010)                                                           page 3

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          Case 8:18-bk-13394-TA                              Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                        Desc
                                                             Main Document    Page 42 of 57

                                                                                       A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                        together—called a joint case. If you file a joint case and
                                                                                       each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed infoimation about your                                     mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                  unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                               each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code,the                                          Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                   credit counseling agencies

 For more information about the documents and                                          The law generally requires that you receive a credit
 their deadlines, go to:                                                               counseling briefing from an approved credit counseling
 http://www.uscourts.aov/bkforms/bankruptcv form                                       agency. 11 U.S.C.§ 109(h). If you are filing a joint case,
 s.html#procedure.                                                                     both spouses must receive the briefing. With limited
                                                                                       exceptions, you must receive it within the 180 days
                                                                                       before you file your bankruptcy petition. This briefing is
 Bankruptcy crimes have serious consequences                                           usually conducted by telephone or on the Internet.

        If you knowingly and fraudulently conceal assets                               In addition, after filing a bankruptcy case, you generally
        or make a false oath or statement under penalty of                             must complete a financial management instructional
        perjury—either orally or in writing—in connection                              course before you can receive a discharge. If you are
        with a bankruptcy case, you may be fined,                                      filing a joint case, both spouses must complete the
        imprisoned, or both.                                                           course.


        All information you supply in connection with a                                You can obtain the list of agencies approved to provide
        bankruptcy case is subject to examination by the                               both the briefing and the instructional course from:
        Attorney General acting through the Office of the                              http://iustice.qov/ust/eo/hapcpa/ccde/cc approved.html.
        U.S. Trustee, the Office of the U.S. Attorney, and
        other offices and employees of the U.S.                                        In Alabama and North Carolina, go to:
        Department of Justice.                                                         http://www.uscourts.gov/FederalCourts/Bankruptcv/
                                                                                       BankruptcvResources/ApprovedCredit
 Make sure the court has your mailing address                                          AndDebtCounselors.aspx.

The bankruptcy court sends notices to the mailing                                      If you do not have access to a computer, the clerk of
address you list on Voluntary Petition for individuals                                 the bankruptcy court may be able to help you obtain the
Filing for Bankruptcy(Official Form 101). To ensure                                    list.
that you receive information about your case.
Bankruptcy Rule 4002 requires that you notify the court
of any changes in your address.




Notice Required by 11 U.S.C.§ 342(b)for individuals Filing for Bankruptcy(Form 2010)                                                           page 4

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            Case 8:18-bk-13394-TA                             Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                Desc
                                                              Main Document    Page 43 of 57
B2030(Form 2030)(12/15)
                                                               United States Bankruptcy Court
                                                                     Central District of California

 In re      Stephen Nguyen                                                                                      Case No.
                                                                                  Debtor(s)                     Chapter    13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a)and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing ofthe petition in bankruptcy, or agreed to be paid to me,for services rendered or to
       be rendered on behalfofthe debtor(s) in contemplation ofor in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                    $               5,000.00
             Prior to the filing ofthis statement I have received                                           $               2,190.00
             Balance Due                                                                                    $               2,810.00

2.     The source ofthe compensation paid to me was:

             ■ Debtor               □     Other (specify):

3.     The source of compensation to be paid to me is:

             ■ Debtor               □     Other (specify):

4.       Hi have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

         □ I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                  reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                  522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                           CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     September 12, 2018                                                           Isl Daniel King
     Date                                                                         Daniel King
                                                                                  Signature ofAttorney
                                                                                  The Attorney Group
                                                                                  3435 Wllshire Blvd
                                                                                  Suite 1111
                                                                                  Los Angeles, CA 90010
                                                                                  213-388-3887       Fax:213-388-1744
                                                                                  dking@theattorneygroup.com
                                                                                  Name of law firm




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             Case 8:18-bk-13394-TA                           Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                                  Desc
                                                             Main Document    Page 44 of 57


Fill in this information to identify your case:                                                                     Check as directed in lines 17 and 21:

Debtor 1              Stephen Nguyen
                      Stephen Nguyen                                                                                   According to the calculations required by this
                                                                                                                      Statement:

Debtor 2                                                                                                               □     ■\ Disposable income is not determined under
(Spouse, if filing)                                                                                                                U.S.C. § 1325(b)(3),
United States
United States Bankruptcy
              Bankruptcy Court
                         Court for
                               for the:
                                   the. Central
                                        Central District
                                                District of
                                                         of California
                                                            California                                                 H 2 Disposable income is determined under 11
                                                                                                                                 U.S.C. § 1325(b)(3).
Case number
(If known)
(if known)                                                                                                                   ^       commitment period is 3 years.
                                                                                                                       M     4. The commitment period is 5 years.
                                                                                                                       □ Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space Is needed, attach a separate sheet to this form. Include the line number to which the additional Information applies. On the top of any
additional pages, write your name and case number (if known).

                  Calculate Your Average Monthly Income

  1. What Is your marital and filing status? Check one only.
        ■ Not married. Fill out Column A, lines 2-11.
       □ Married. Fili out both Columns A and B, lines 2-11.


    Fill in the average monthly Income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(1 OA). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amountof your monthly income varied during the
    6 months, add the Income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses own
    the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 In the space.
                                                                                                              Column A                   Column B
                                                                                                              Debtor 1                   Debtor 2 or
                                                                                                                                         non-filing spouse

  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before
     all payroll deductions).                                                                                                 0.00       $
  3. Alimony and maintenance payments. Do not Include payments from a spouse If
       Column B Is filled In.
                                                                                                                              0.00       $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Do not Include payments from a spouse. Do not Include payments
     you listed on line 3.
                                                                                                                              0.00       $
  5. Net income from operating a business,
       profession, or farm                                               Debtor 1
       Gross receipts (before all deductions)                        ®               10,183.33
                                                                                     10,183.33
       Ordinary and necessary operating expenses                    "$                    806.00
                                                                                          806.00

       Net monthly Income from a business.                                                         Copy
                                                                                                   Copy
       profession, or farm                                          ®                 9,377.33
                                                                                      9,377.33 here
                                                                                               here ->
                                                                                                    -> $                9,377.33         $
  6. Net income from rentai and other reai property                      Debtor 11
                                                                         Debtor

       Gross receipts (before all deductions)                       $                 4,500.00
                                                                                      4,500.00
       Ordinary and necessary operating expenses                                            0-00
                                                                                            0.00

       Net monthly Income from rental or other real                                   .            Copy
                                                                                                   Copy
       property                                                     $                 4,500.00
                                                                                      ^.SOO OO here
                                                                                               here ->
                                                                                                    -> $                4,500.00         $




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                              page 1
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            Case 8:18-bk-13394-TA                             Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                     Desc
                                                              Main Document    Page 45 of 57

 Debtor 1     Stephen Nguyen                                                                       Case number {if known)



                                                                                                  Column A                  Column B
                                                                                                  Debtor 1                  Debtor 2 or
                                                                                                                            non-filing spouse
                                                                                                                 0.00       $
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                                   0.00
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here;
         For you                                             $                 0.00
            For your spouse                                          $
  9.   Pension or retirement income. Do not include any amount received that was a
       benefit under the Social Security Act.                                                                    0.00       $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
       total below.
                                                                                                                 0.00
                                                                                                                 0.00
                  Total amounts from separate pages, if any.                                                     0.00

  11. Calculate your total average monthly income. Add lines 2 through 10 for
       each column. Then add the total for Column A to the total for Column B.          $    13,877.33                                          13,877.33

                                                                                                                                              Total average
                                                                                                                                              monthly income

                Determine How to Measure Your Deductions from Income


  12. Copy your total average monthly income from line 11.                                                                                      13,877.33
  13. Calculate the marital adjustment. Check one:
       ■      You are not married. Fill in 0 below.
       □      You are married and your spouse is filing with you. Fill in 0 below.
       □      You are married and your spouse is not filing with you.
              Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
              dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
              Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
              adjustments on a separate page.
              If this adjustment does not apply, enter 0 below.
                                                                                         $
                                                                                         $
                                                                                       +$

                     Total                                                              $                 0.00        Copy here=>                         0.00




  14. Your current monthly Income. Subtract line 13 from line 12.                                                                               13,877.33


  15. Calculate your current monthly Income for the year. Follow these steps:
         15a. Copy line 14 here=>                                                                                                               13,877.33

                Multiply line 15a by 12 (the number of months in a year).                                                                     X 12

         15b. The result is your current monthly income for the year for this part of the form.                                           $    166,527.98




OfTicial Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                page 2
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       Case 8:18-bk-13394-TA                               Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                    Desc
                                                           Main Document    Page 46 of 57

Debtor 1     Stephen Nguyen                                                                       Case number (if known)




 16. Calculate the median family Income that applies to you. Follow these steps:
      16a. Fill in the state in which you live.                           CA

      16b. Fill in the number of people in your household.                 1
      16c. Fill in the median family income for your state and size of household.                                                           64,787.00
           To find a list of applicable median income amounts, go online using the link specified in the separate
           instructions for this form. This list may also be available at the bankruptcy clerk's office.
 17. How do the lines compare?
   , 17a.        □     Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not detenvined under
                       11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).
      17b.       ■     Line 15b is more than line 16c. On the top of page 1 of this form, check box 2. Disposable income is determined under 11 U.S.C. §
                       1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form,
                       copy your current monthly income from line 14 above.
               Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11 .                                                                         $             13,877.33
19. Deduct the marital adjustment If It applies. If you are married, your spouse is not filing with you, and you
      contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
      spouse's income, copy the amount from line 13.
      19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                      -$_                  0.00



      19b. Subtract line 19a from line 18.                                                                                                   13,877.33


20. Calculate your current monthly Income for the year. Follow these steps:
      20a. Copy line 19b
                                                                                                                                       5     13,877.33
             Multiply by 12 (the number of months in a year).                                                                              X 12


      20b. The result is your current monthly income for the year for this part of the form                                            $    166,527.96




      20c. Copy the median family income for your state and size of household from line 16c                                            $     54,787.00


      21. How do the lines compare?

             □       Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                     period is 3 years. Go to Part 4.

             ■       Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                     commitment period is 5 years. Go to Part 4.

               Sign Below
       By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.
    X /s/ Stephen Nguyen
      Stephen Nguyen
      Signature of Debtor 1
      Date September 12, 2018
              MM / DD / YYYY
       If you checked 17a, do NOT fill out or file Form 122C-2.
       If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                             page 3
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           Case 8:18-bk-13394-TA                              Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                               Desc
                                                              Main Document    Page 47 of 57




 Debtor 1            Stephen Nguyen

 Debtor 2
(Spouse, if filing)

 United States Bankruptcy Court for the; Central District of California

 Case number
(if known)                                                                                                  □ Check if this Is an amended filing

Official Form 1220-2

Chapter 13 Calculation of Your Disposable Income                                                                                                   04/i
To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period {Oii\c\a\ Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

ISnHB           Calculate Your Deductions from Your Income

    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the
    the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This
    information may also be available at the bankruptcy clerk's office.

    Deduct the expense amounts set out in lines 6-15 regardless of your actual expense, in later parts of the form, you will use some of your actual
    expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form
    1220-1, and do not deduct any amounts that you subtracted from your spouse's income in line 13 of Form 1220-1.

    if your expenses differ from month to month, enter the average expense.

    Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

    5.    The number of people used in determining your deductions from income

          Fill in the number of people who could be claimed as exemptions on your federal income tax return,
          plus the number of any additional dependents whom you support. This number may be different from                    1
          the number of people in your household.



    National Standards                   You must use the IRS National Standards to answer the questions in lines 6-7.



    6.    Food, clothing, and other items; Using the number of people you entered in line 5 and the IRS National
          Standards, fill in the dollar amount for food, clothing, and other items.                                                            647.00



    7.    Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
          the dollar amount for out-of-pocket health care. The number of people is split into two categories-people who are under 65 and
          people who are 65 or oider-because older people have a higher IRS allowance for health car costs. If your actual expenses are
          higher than this IRS amount, you may deduct the additional amount on line 22.




Official Form 22C-2                                         Chapter 13 Calculation of Your Disposable Income
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             Case 8:18-bk-13394-TA                            Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                         Desc
                                                              Main Document    Page 48 of 57

         ^     Stephen Nguyen                                                                      Case nunrtoer {if known)



    People who are under 65 years of age
             7a. Out-of-pocket health care allowance per person           $             ^
             7b. Number of people who are under 65                        X         1

             7c. Subtotal. Multiply line 7a by line 7b.                   $        52.00            Copy here=>        $          52.00


    People who are 65 years of age or older

             7d. Out-of-pocket health care allowance per person           $          114
             7e. Number of people who are 65 or older                     X         0
             7f.   Subtotal. Multiply line 7d by line 7e.                 $         0.00            Copy here=>        $            0.00


             7g. Total. Add line 7c and line 7f                                                    52.00                   Copy total here=>             52.00



    Local Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.
    Based on Information from the IRS,the U.S. Trustee Program has divided the IRS Local Standard for housing for
    bankruptcy purposes Into two parts:
    ■ Housing and utilities - Insurance and operating expenses
    M Housing and utilities - Mortgage or rent expenses
    To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the
    separate instructions for this form. This chart may also be available at the bankruptcy clerk's office.
    8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered In line 5,
        fill in the dollar amount listed for your county for insurance and operating expenses.                         $               489.00

    9.       Housing and utilities - Mortgage or rent expenses:
             9a. Using the number of people you entered in line 5, fill in the dollar amount
                 listed for your county for mortgage or rent expenses.                                                         1,941.00

             9b. Total average monthly payment for all mortgages and other debts secured by your home.
                   To calculate the total average monthly payment, add all amounts that are
                   contractually due to each secured creditor in the 60 months after you file
                   for bankruptcy. Next divide by 60.

                   Name of the creditor                                       Average monthly
                                                                              payment

                   County of Orange                                           $         1,636.50
                   Fidelity National Title Insurance Compan                   $         4,750.00

                                                                                                    Copy                                       Repeat this amount
                                                                                        6,386.50    here=>


             9c.


                   Subtract line 9b {total average monthly payment)from line 9a (mortgage                                           Copy
                                                                                                                           0.00     here=> $                 0.00
                   or rent expense). If this number is less than $0, enter $0.


    10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
                                                                                                                                                             0.00
        affects the calculation of your monthly expenses, fill in any additional amount you claim.
              Explain why;




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            Case 8:18-bk-13394-TA                           Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                             Desc
                                                            Main Document    Page 49 of 57

 Debtor 1     Stephen Nguyen                                                                      Case number {if known)


    11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

            □ 0. Go to line 14.

            ■ 1. Go to line 12.

            □ 2 or more. Go to line 12.
    12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
                                                                                                                                              $              289.00
        operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.
    13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
        You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
            more than two vehicles.

     Vehicle 1        Describe Vehicle 1:
                                                 2017 Lexus NX300 10K miles Vehicle is Leased

    13a. Ownership or leasing costs using IRS Local Standard                                                       497.00

    13b. Average monthly payment for all debts secured by Vehicle 1.
            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all amounts that
            are contractually due to each secured creditor in the 60 months after you file for
            bankruptcy. Then divide by 60.

                 Name of each creditor for Vehicle 1                         Average monthly
                                                                             payment

                 Toyota Motor Credit Co                                      $           197.20

                                                                                                                                       Repeat this
                                                                                                   Copy                                amount on
                                        Total Average Monthly Payment                    197.20    here =>                 197.20      line 33b.




    13c. Net Vehicle 1 ownership or lease expense                                                                                 Copy net
                                                                                                                                  Vehicle 1
            Subtract line 13b from line 13a. if this number is less than $0, enter $0.                                            expense here
                                                                                                                   299.80         =>          5              299.80


     Vehicle 2        Describe Vehicle 2:
    13d. Ownership or leasing costs using IRS Local Standard                                           $              0.00

    13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
            leased vehicles.

                 Name of each creditor for Vehicle 2                         Average monthly
                                                                             payment



                                                                                                   Copy                            Repeat this
                                                                                                   here                            amount on line
                                        Total average monthly payment                                                      0.00    33c.




    13f.                                                                                                                          Copy net
                                                                                                                                  Vehicle 2
                                                                                                                                  expense here
                                                                                                                      0.00        =>               J             0.00


    14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
        Public Transportation expense allowance regardless of whether you use public transportation.                                          $                  0.00

    15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
        also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
                                                                                                                                                                 0.00
            not claim more than the IRS Local Standard for Public Transportation.                                                             $.




Official Form 122C-2                                      Chapter 13 Calculation of Your Disposable Income                                                    page 3
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            Case 8:18-bk-13394-TA                           Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                   Desc
                                                            Main Document    Page 50 of 57

 Debtor 1       Stephen Nguyen                                                                      Case number {if known)


    Other Necessary Expenses               In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                           the following IRS categories.
    16. Taxes: The total monthly amount that you will actually pay for federal, state and local taxes, such as income taxes,
        self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld
        from your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by
        12 and subtract that number from the total monthly amount that is withheld to pay for taxes.
            Do not include real estate, sales, or use taxes.                                                                            $          500.00

    17. involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
            contributions, union dues, and uniform costs.
            Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.        $              0.00

    18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
        filing together, include payments that you make for your spouse's term life insurance.
        Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form
        of life insurance other than term.                                                                                              $              0.00

    19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
        administrative agency, such as spousal or child support payments.
            Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.   $              0.00

    20. Education: The total monthly amount that you pay for education that is either required:
            B as a condition for your job, or
            B for your physically or mentally challenged dependent child if no public education is available for similar services.      $              0.00

    21. Chfldcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and
            preschool.
            Do not include payments for any elementary or secondary school education.                                                   $              0.00

    22. Additional health care expenses,excluding Insurance costs: The monthly amount that you pay for health care
        that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
        by a health savings account. Include only the amount that is more than the total entered in line 7.
            Payments for health insurance or health savings accounts should be listed only in line 25.                                  $.            0.00

    23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication
        services for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or
        business cell phone service, to the extent necessary for your health and welfare or that of your dependents or for the
        production of income, if it is not reimbursed by your employer.
        Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
        expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.                                    0.00


   24. Add all of the expenses allowed under the IRS expense allowances.                                                                      2,276.80
       Add lines 6 through 23.
    Additional Expense Deductions                These are additional deductions allowed by the Means Test.
                                                 Note: Do not include any expense allowances listed in lines 6-24.
   25. Health Insurance, disability Insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
            your dependents.
            Health insurance                                            $            0.00

            Disability insurance                                                     0.00

            Health savings account                                    +$             0.00

            Total                                                                     0.00      Copy total here=>                       $             0.00


            Do you actually spend this total amount?
            □       No. How much do you actually spend?
            B       Yes                                                     $
   26.      Continued contributions to the care of household or family members. The actual monthly expenses that you will
            continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member
            of your household or member of your immediate family who is unable to pay for such expenses. These expenses
            may include contributions to an account of a qualified ABLE program, 26 U.S.C. § 529A(b)                                                   0.00

   27.      Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
            safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
            By law, the court must keep the nature of these expenses confidential.                                                                     0.00




Official Form 122C-2                                      Chapter 13 Calculation of Your Disposable Income                                          page 4
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           Case 8:18-bk-13394-TA                              Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                                   Desc
                                                              Main Document    Page 51 of 57

Debtor 1     Stephen Nguyen                                                                                    case number {/f/cnoivn)
   28. Additional home energy costs. Your home energy costs are included In your insurance and operating expenses on
           line 8.

           If you believe that you have home energy costs that are more than the home energy costs included in expenses on
           line 8, then fill in the excess amount of home energy costs
           You must give your case trustee documentation of your actual expenses, and you must show that the additional
                                                                                                                                                                         0.00
           amount claimed is reasonable and necessary.
   29. Education expenses for dependent chiidren who are younger than 18. The monthly expenses (not more than
       $160.42* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
       public elementary or secondary school.
           You must give your case trustee documentation of your actual expenses, and you must explain why the amount
           claimed is reasonable and necessary and not already accounted for in lines 6-23.
                                                                                                                                                                         0.00
           * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.
   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
           higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
           than 5% of the food and clothing allowances in the IRS National Standards.
           To find a chart showing the maximum additional allowance, go online using the link specified in the separate
           instructions for this form. This chart may also be available at the bankruptcy clerk's office.
                                                                                                                                                                         0.00
           You must show that the additional amount claimed is reasonable and necessary.
   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
       instruments to a religious or charitable organization. 11 U.S.C.§ 548(d)(3) and (4).
                                                                                                                                                                         0.00
           Do not include any amount more than 15% of your gross monthly income.

                                                                                                                                                                      0.00
   32. Add ail of the additional expense deductions.
       Add lines 25 through 31.

    Deductions for Debt Payment

   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
          loans, and other secured debt, fill in lines 33a through 33e.
          To calculate the total average monthly payment, add all amounts that are contractually due to each secured
          creditor in the 60 months after you file for bankruptcy. Then divide by 60.
             Mortgages on your home                                                                                                                    Average monthly
                                                                                                                                                       payment
   33a.      Copy line 9b here                                                                                                                 =>      $       6,386.50
             Loans on your first two vehicles
   33b.      Copy line 13b here                                                                                                                =>                197.20

   33c.      Copy line 13e here                                                                                                                =>                   0.00

   33d.      List other secured debts:
    Name of each creditor for other secured debt                     Identify property that secures the debt                      Does payment
                                                                                                                                  Include taxes
                                                                                                                                  or insurance?

                                                                                                                                  □      No
            -NONE-                                                                                                                □      Yes

                                                                                                                                  □      No
                                                                                                                                  □      Yes

                                                                                                                                  □      No
                                                                                                                                  □      Yes   +


                                                                                                                                               Copy
                                                                                                                                               total
    33e     Total average monthly payment. Add lines 33a through 33d                                                            6,583.70       here=>
                                                                                                                                                           $    6,583.70




Official Form 122C-2                                        Chapter 13 Caicuiation of Your Disposable income                                                          page 5
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          Case 8:18-bk-13394-TA                                 Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                                            Desc
                                                                Main Document    Page 52 of 57

            Stephen Nguyen                                                                                               Case nurrtjer {if known)


   34. Are any debts that you listed In line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?
        □ No.        Go to line 35.
        ■ Yes. State any amount that you must pay to a creditor, in addition to the payments
                     listed in line 33, to keep possession of your property (called the cure amount).
                     Next, divide by 60 and fill in the information below.
     Name of the creditor                                 Identify property that secures the debt                              Total cure amount                 Monthly cure
                                                                                                                                                                 amount

                                                          12282 Jerome Street Garden Grove,
     Fidelity National Title                              CA 92841 Orange County
     Insurance Compan                                     FVM per Ziilow                                                               50,000.00 -{-60= $                   833.33
                                                                                                                                                      •^60= $ I
                                                                                                                                                      -60 = +$ _
                                                                                                                                                         Copy
                                                                                                                                                         total
                                                                                                                   Total                     833.33      here=>
                                                                                                                                                                                833.33


    35. Do you owe any priority claims - such as a priority tax, child support, or alimony -
        that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
        □ No.        Go to line 36.
        ■ Yes. Fill in the total amount of all of these priority claims. Do not include current or
                     ongoing priority claims, such as those you listed in line 19.
                      Total amount of all past-due priority claims                                                                       20,500.00        +60       $           341.67

    36. Projected monthly Chapter 13 plan payment
        Current multiplier for your district as stated on the list Issued by the Administrative
        Office of the United States Courts (for districts in Alabama and North Carolina) or by
        the Executive Office for United States Trustees (for all other districts).
        To find a list of district multipliers that includes your district, go online using the link specified in the
        separate instructions for this form. This list may also be available at the bankruptcy clerk's office.
                                                                                                                                                       Copy total
        Average monthly administrative expense                                                                                                         here=> $



    37. Add ail of the deductions for debt payment.                                                                                                                        7,758.70
        Add lines 33e through 36.

    Total Deductions from income

    38. Add ail of the allowed deductions.
          Copy line 24, AH of the expenses allowed under IRS
                                                                                                              2,276.80
          expense allowances                                                                   $.
          Copy line 32, All of the additional expense deductions                               $                        0.00

          Copy line 37, All of the deductions for debt payment                               +$               7,758.70


          Total deductions..                                                                                10,035.50              Copy total here=>                        10,035.50




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            Case 8:18-bk-13394-TA                            Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                     Desc
                                                             Main Document    Page 53 of 57

 Debtor 1    Stephen Nguyen                                                                        Case nurrtoer (if known)



                 Determine Your Disposable income Under 11 U.S.C.§ 1325(b)(2)

    39. Copy your total current monthly income from line 14 of Form 1220-1, Chapter 13
        Statement of Your Current Monthly Income and Calculation of Commitment Period.                                                              13,877.33

    40. Fill in any reasonably necessary income you receive for support for dependent
        children. The monthly average of any child support payments, foster care payments, or
        disability payments for a dependent child, reported in Part I of Form 122C-1, that you
        received in accordance with applicable nonbankruptcy law to the extent reasonably
        necessary to be expended for such child.                                                                              0.00

    41. Fill in ail qualified retirement deductions. The monthly total of all amounts that your
        employer withheld from wages as contributions for qualified retirement plans, as specified
        In 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
        specified in 11 U.S.C. § 362(b)(19).                                                                                  0.00

    42. Total of all deductions allowed under 11 U.S.C.§ 707(b)(2)(A). Copy line 38 here            =>                 10,035.50
   43. Deduction for special circumstances. If special circumstances justify additional
       expenses and you have no reasonable alternative, describe the special circumstances and
       their expenses. You must give your case trustee a detailed explanation of the special
        circumstances and documentation for the expenses.

    Describe the special circumstances                                                Amount of expense




                                                                                                         Copy
                                                                                                         here=> $



                                                                                                                                Copy
    44. Total adjustments. Add lines 40 through 43.                                                            10,035.50        here^> ■$           10,035.50



    45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                             3,841.83


                 Change in income or Expenses

    46. Change in income or expenses. If the income in Form 1220-1 or the expenses you reported in this form
        have changed or are virtually certain to change after the date you filed your bankruptcy petition and during the
        time your case will be open, fill in the information below. For example, if the wages reported increased after
        you filed your petition, check 1220-1 in the first column, enter line 2 in the second column, explain why the
        wages increased, fill in when the increase occurred, and fill in the amount of the increase.

    Form             Line           Reason for change                                   Date of change        increase or        Amount of change
                                                                                                              decrease?

    □ 1220-1                                                                                                  n   increase
    □ 1220-2                                                                                                  n   Decrease       $
    □ 1220-1                                                                                                  n   Increase
    □   1220-2                                                                                                □   Decrease       $
    □   1220-1                                                                                                D   Increase
    □   1220-2                                                                                                □   Decrease       $
    □   1220-1                                                                                                D   Increase
    □   1220-2                                                                                                n   Decrease       $




Official Form 1220-2                                       Chapter 13 Calcuiation of Your Disposable income                                            page 7
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      Case 8:18-bk-13394-TA                              Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                    Desc
                                                         Main Document    Page 54 of 57

Debtor 1     Stephen Nguyen                                                                     Case number (if known)




               Sign Below



           By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


      X Isl Stephen Nguyen
        Stephen Nguyen
            Signature of Debtor 1
   Date September 12, 2018
            MM / DD / YYYY




Official Form 122C-2                                      Chapter 13 Calculation of Your Disposable Income                                        page 8
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     Case 8:18-bk-13394-TA                        Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25                                                      Desc
                                                  Main Document    Page 55 of 57

Attorney or Party Name, Address, Telephone & FAX Nos.,                            FOR COURT USE ONLY
State Bar No. & Email Address
Daniel King
3435 Wilshire Blvd
Suite 1111
Los Angeles, CA 90010
213-388-3887 Fax: 213-388-1744
California State Bar Number: 207911 CA
dking@theattorneygroup.coni




□ Debtor(s) appearing without an attorney
■ Attorney for Debtor

                                                    UNITED STATES BANKRUPTCY COURT
                                                     CENTRAL DISTRICT OF CALIFORNIA


In re:
                                                                                  CASE NO.:
             Stephen Nguyen
                                                                                  CHAPTER: 13




                                                                                                      VERIFICATION OF MASTER
                                                                                                     MAILING LIST OF CREDITORS

                                                                                                                    [LBR 1007-1 (a)]

                                                              Debtor(s).

Pursuant to LBR 1007-1 (a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 2 sheet(s) is complete, correct, and consistent
with the Debtor's schedules and I/we assume all responsibility for errors and omissions.

Date:    September 12, 2018                                                              Isl Stephen Nguyen                                       ^
                                                                                         Signature of Debtor 1                    u

Date:
                                                                                         Signature of Debtor 2 (joint debtor)) (if applicable)

Date:    Septem ber 12,2018                                                              /s/ Daniel King
                                                                                         Signature of Attorney for Debtor (if applicable)




                   This form is optional, it has been approved for use in the United States Bankruptcy Court for the Central District of Califomia.
D0cember2oi5                                                                                        F 1007-1 .MAILING.LIST. VERIFICATION
Case 8:18-bk-13394-TA   Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25   Desc
                        Main Document    Page 56 of 57



                    Stephen Nguyen
                    12282 Jerome St.
                    Garden Grove, CA 92841


                    Daniel King
                    The Attorney Group
                    3435 Wilshire Blvd
                    Suite 1111
                    Los Angeles, CA 90010


                    Bk Of Amer
                    Po Box 982238
                    El Paso, TX 79998


                    County of Orange
                    Attn: Orange County Tax Collector
                    P.O. Box 1438
                    Santa Ana, CA 92702-1438


                    Credit One Bank Na
                    Po Box 98875
                    Las Vegas, NV 89193


                    Dsnbvis
                    Po Box 8218
                    Mason, OH 45040


                    Fidelity National Title Insurance Compan
                    2533 N. 117th Avenue
                    Omaha, NE 68164


                    Genesis Bc/celtic Bank
                    268 S State St Ste 300
                    Salt Lake City, UT 84111
Case 8:18-bk-13394-TA   Doc 1 Filed 09/12/18 Entered 09/12/18 11:59:25   Desc
                        Main Document    Page 57 of 57



                    Hero Financing Program
                    1170 W 3rd Street, 2nd Floor
                    San Bernardino, CA 92410


                    IRS
                    PO Box 7346
                    Philadelphia, PA 19101


                    Lending Club Corp
                    71 Stevenson St Ste 300
                    San Francisco, CA 94105


                    Syncb/sync Bank Luxury
                    950 Forrer Blvd
                    Kettering, OH 45420


                    Thd/cbna
                    Po Box 6497
                    Sioux Falls, SD 57117


                    Toyota Motor Credit Co
                    Po Box 9786
                    Cedar Rapids, lA 52409


                    Wells Fargo
                    Po Box 14517
                    Des Moines, lA 50306
